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AO #2    (Rev. 11/11) Anest Warrant



                                              UNITED STATESDISTRICT COURT
                                                                                     for the

                                                                         District of Columbia

                      United Statesof America
                                      V.                                               )




                                                                                                Case: 1:23-mj-00029
                             JasonFarris                                               )




                                                                                       )        Assigned to: Judge Meriweather, RobIn M.
                                                                                       )
                                                                                                Assign Data: 2/3/2023
                                                                                           )
                                                                                                Description: COMPLAINT W/ ARREST WARRANT
                                                                                           )




                                Defendant


                                                                   ARRESTWARRANT
To:        Any authorizedlaw enforcementofficer

           YOU ARE COMMANDED to arrest and bring before a United Statesmagistratejudge without unnecessarydelay
(name
    ofperson
           fobeamesfeO                                                                             JasonFarris
who is accusedof an offense or violation basedon the following document filed with the court:

D Indictment a                     Superseding       Indictment [] Information []                           Superseding Information iX Complaint
a ProbationViolation Petition                       a SupervisedReleaseViolation Petition                            D Violation Notice             [] Order of the Court

This offenseis briefly describedas follows:
 18 U.S.C. § 1752(a)(1)- Knowingly Entering or Remaining in any Restricted Building or GroundsWithout Lawful Authority;
  18 U.S.C. g 1752(a)(2)- ) knowingly, and with intent to impedeor disrupt the orderly conduct ofGovemment businessor official functions, engagein disorderly or disruptive
 conduct in, or within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
 businessor official function;
  18 U.S.C. § 1752(a)(4) - knowingly engagein any act of physical violence against any person or property in any resuicted building or grounds; or attempts or conspiresto do so;
  18 U.S.C. g 111(a)(1), which makes it a crime for anyoneto forcibly assault,resist, oppose,impede, intimidate, or interfere with any United Stateslaw enforcement officer while
 that omcer is engagedin the performance of their official duties;                           _    n .           _
 18 us.c. § 231 (a)(3) - ObsUuction of Law Enforcement Durh£ CMI      Disorder.                Ro bin Me                               Digitally signed by Robin M.
                                                                                                                                       Meriweather
Date:            2/3/2023                                                                      Meriweather k‘                          Date:2023.02.0317:23:18-05'00'
                                                                                                                         Issuing ofIcer ’s signature


City and state:                        Washington, D.C.                                            Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                           Printed nameand title


                                                                                    Return

           This warrant was received on (date)                                                  and the person was arrested on (date)
at (city and state)         Ar /'/,              TexAS

             b/f /23
                                                                                                                     t                MfKwb
                                                                                                                             Fl.# ret
                                                                                                                           Printed name and title
